                       Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 1 of 6
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet I



                                     UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas

           UNITED STATES OF AMERICA                                   ~   JUDGMENT IN A CRIMINAL CASE
                                V.                                    ) (For Revocation of Probation or Supervised Release)
                                                                      )
                 CORDERO LOCKHART                                     )                                              FILE    '·='J
                                                                                                                                  r~
                                                                      ) Case No. 4: 14-cr-00008-B~,1-6._U.S.       01s,:~:r_:·,_ '~OURT
                                                                                                       'e~~'iERN DIS I "•r :- ,\ F~t<ANSAS
                                                                      ) USM No. 28510-009
                                                                      )
                                                                      )   Robert Brannon Sloan Jr.
THE DEFENDANT:                                                                                    DefBy:
~ admitted guilt to violation of condition(s)             1 2 and 3
                                                        --~--------
                                                                                        of the term of su=p:-:e=rvi:1,'-::Jt:.I.L~:::a--~~:.e-:-::=--
•   was found in violation of condition(s) count(s)                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                               Violation Ended
1- Mandatory                   Violation of federal, state, or local law                                        05/08/2020

2 - Mandatory                   Possession of firearm, ammunition, or destructive device                        05/08/2020

3 - Standard (6)                Failure to notify probation officer prior to employment change                  06/30/2019



       The defendant is sentenced as provided in pages 2 through _ _6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic c1rcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9763                                                   06/29/2020

Defendant's Year of Birth:           1988

City and State of Defendant's Residence:
Blytheville, Arkansas
                                                                                  Brian S. Miller, United States District Judge
                                                                                                 Name and Title of Judge



                                                                                                             Date
                       Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 2 of 6
AO 245D (Rev. 09/19)     Judgment in a Criminal Case for Revocations
                         Sheet 2- Imprisonment
                                                                                                 Judgment - Page     2     of   6
DEFENDANT: CORDEROLOCKHART
CASE NUMBER: 4:14-cr-00008-BSM-6

                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
FOUR (4) MONTHS




     !if   The court makes the following recommendations to the Bureau of Prisons:

Non-residential substance abuse treament recommended during imprisonment.




     !if   The defendant is remanded to the custody of the United States Marshal.

     •     The defendant shall surrender to the United States Marshal for this district:
           •    at   - - - - - - - - - • a.m.                     •    p.m.    on
           •    as notified by the United States Marshal.

     •     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           •    before 2 p.m. on
           •    as notified by the United States Marshal.
           •    as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                    to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                              By
                                                                                           DEPUTY UNITED STATES MARSHAL
                        Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 3 of 6
 AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                         Sheet 2A - Imprisonment
                                                                                          Judgment-Page ~3~ of      6
 DEFENDANT: CORDERO LOCKHART
 CASE NUMBER: 4:14-cr-00008-BSM-6

                                         ADDITIONAL IMPRISONMENT TERMS
1. The first two (2) months of the defendant's sentence shall be spent in custody in a detention facility.

2. The remainder of the sentence shall be spent in home detention with electronic monitoring. Prior to the defendant
being released to home detenion, the probation office will do a home inspection of the premises to ensure that there are no
firearms at the location.
                        Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 4 of 6
 AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                         Sheet 3 - Supervised Release
                                                                                                 Judgment-Page    __4~_ of       __ 6_ _
DEFENDANT: CORDERO LOCKHART
CASE NUMBER: 4:14-cr-00008-BSM-6
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 ONE (1) YEAR additional supervised release added to defendant's current term




                                                    MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within I 5 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                • The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.    •   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.    l!f You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     • You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    •   You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                       Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 5 of 6
AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                        Sheet 3A - Supervised Release
                                                                                               Judgment-Page      5     of       6
DEFENDANT: CORDERO LOCKHART
CASE NUMBER: 4:14-cr-00008-BSM-6

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

l.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
    your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
    different time frame.
2.  After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
    and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.  You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
    from the court or the probation officer.
4.  You must answer truthfully the questions asked by your probation officer.
5.  You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.  You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
    officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
    or your job responsibilities), you must notify the probation officer at least IO days before the change. If notifying the
    probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
8.  You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
    been convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the
    permission of the probation officer.
9.  If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
    that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
    nunchakus or tasers ).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
    may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
    contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                        Date
                         Case 4:14-cr-00008-BSM Document 600 Filed 07/01/20 Page 6 of 6
  AO 245D (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                          Sheet 3B - Supervised Release
                                                                                          Judgment-Page   _6_    of   -~6__
  DEFENDANT: CORDERO LOCKHART
  CASE NUMBER: 4:14-cr-00008-BSM-6

                                    ADDITIONAL SUPERVISED RELEASE TERMS
14. All general and standard conditions previously imposed remain in full force and effect.

15. The defendant will participate under the guidance and supervision of the probation office in a substance abuse
treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
defendant will abstain from the use of alcohol during supervision. The defendant will pay for the cost of treatment at the
rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
probation office. In the event the defendant is financially unable to pay for cost of treatment, the co-pay requirement will be
waived (This special condition overrides the 7th Standard Condition of Supervision on the Judgment and Commitment
order).
